      Case 2:06-cr-00441-DAD Document 112 Filed 02/28/08 Page 1 of 2


 1   HAYES H. GABLE III
     Attorney at Law
 2   State Bar No. 60368
     428 J Street, Suite 350
 3   Sacramento, CA 95814
     (916) 446-3331
 4   Fax: (916) 447-2988
 5   Attorney for Defendant
     ANDRES MAYORGA
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                              Cr. S-06-441 GEB
12
                            Plaintiff,                      STIPULATION AND [PROPOSED]
13                                                          ORDER RE: CONTINUANCE OF
                                                            STATUS CONFERENCE AND
14           vs.                                            EXCLUSION OF TIME UNDER
                                                            SPEEDY TRIAL ACT
15   ANDRES MAYORGA,
16                                                          Hon. Garland E. Burrell, Jr.
                            Defendant(s).
17
18                                            STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jill Thomas, and defendant Andres Mayorga, by and through his counsel, Hayes H. Gable
21   III, agree and stipulate to vacate the existing hearing date in the above-captioned action, February
22   29, 2008, and to continue the matter to March 21, 2008 at 9:00 a.m., for status conference.
23          The reason for this continuance is that the government and defendant continue to negotiate
24   a resolution of this case and the additional time is necessary to complete these negotiations. The
25   parties further agree and stipulate that the period for the filing of this stipulation until March 21,
26   2008, should be excluded in computing time for commencement of trial under the Speedy Trial Act,
27   based upon the interest of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow
28   continuity of counsel and to allow reasonable time necessary for effective presentation.
            It is further agreed and stipulated that the need of defense counsel to prepare exceeds the
      Case 2:06-cr-00441-DAD Document 112 Filed 02/28/08 Page 2 of 2


 1   public’s interest in commencing trial within 70 days.
 2          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 3
 4   IT IS SO STIPULATED
 5   DATE: February 27, 2008
                                                                     s/Hayes H. Gable, III
 6                                                                  HAYES H. GABLE, III
                                                                    Attorney for Defendant
 7                                                                  ANDRES MAYORGA
 8
     DATE: February 27, 2008
 9                                                                   s/Hayes H. Gable, III for
                                                                    JILL THOMAS
10                                                                  Asst. U.S. Attorney
11
12                              ORDER FINDING EXCLUDABLE TIME
13          For the reasons set forth in the accompanying stipulation and declaration of counsel filed
14   under seal, the status conference in the above-entitled action is continued to March 21, 2008 at 9:00
15   a.m. The court finds excludable time in this matter from February 29, 2008. through March 21,
16   2008, under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and
17   to allow reasonable time necessary for effective presentation. For the reasons stipulated by the
18   parties, the Court finds that the interest of justice served by granting the requested continuance
19   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A),
20   (h)(8)(B)(iv).
21   IT IS SO ORDERED.
22   Dated: February 28, 2008
23
24                                              GARLAND E. BURRELL, JR.
25                                              United States District Judge

26
27
28

                                                      -2-
